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December 6, 2017

BY ECF

The Honorable Lewis A. Kaplan
U.S. District Court – S.D.N.Y.
500 Pearl Street
New York, NY 10007

         Re:       Yukos Capital S.A.R.L, et al. v. Feldman
                   Case No.: 15 Civ. 4964 (LAK)

Dear Judge Kaplan:

       We represent Defendant Daniel Feldman in the above-captioned action. To the extent it
impacts this Court's trial schedule, Defendant's counsel would like to inform the Court that:

                  The case that was originally scheduled for jury trial before Judge Pauley
                   beginning on December 4, 2017, and subsequently adjourned to February 5, 2018,
                   has been adjourned again at the direction of the Court. The trial is now scheduled
                   to commence on March 19, 2018 and is expected to last three weeks.

                  The Court of Appeals for the Ninth Circuit has scheduled oral argument in an
                   appeal for which I am primarily responsible. The argument is set for February 14,
                   2018.

                  I remain retained as trial counsel for an arbitration that is scheduled for March 5-
                   9, 2018.


                                                               Respectfully submitted,


                                                               /s/ Rishi Bhandari
                                                               Rishi Bhandari

cc:      Counsel of Record (via ECF)
